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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

McManimon, Scotland & Baumann, LLC                                              Order Filed on December 17, 2018
                                                                                             by Clerk
427 Riverview Plaza                                                                  U.S. Bankruptcy Court
Trenton, NJ 08611                                                                    District of New Jersey

(609) 695-6070
Andrea Dobin (adobin@msbnj.com)
Ross J. Switkes (rswitkes@msbnj.com)
Counsel to Plaintiff,
Andrea Dobin, Chapter 7 Trustee                                                          16-27447
                                                               Case No.:           ____________________

                                                               Chapter:                      7
                                                                                   ____________________


                                                               Adv. Pro. No.:            18-01469
                                                                                   ____________________
In Re:
NMC GLOBAL CORPORATION,                                        Judge:                    Gravelle
                                                                                   ____________________

Debtor.

ANDREA DOBIN, CHAPTER 7 TRUSTEE,

                                 Plaintiff(s)
v.
GHULAM SUHRAWARDI and NABIL KASSEM,

                                Defendant(s)


                                        MEDIATION ORDER

              The relief set forth on the following page is ORDERED.




 DATED: December 17, 2018
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It having been determined that mediation may produce a mutually agreeable resolution of all or some of
the issues between the parties, and the parties having

        " agreed on the selection of a mediator [add the name and address of the mediator below],

        " been unable to agree on the selection of a mediator, ask the court to appoint one [court will
        add the name and address of a mediator],

 it is ORDERED, that

the parties will make a good faith attempt to settle this action through mediation and will attend,
personally or through a representative with authority to negotiate and settle the disputes, all sessions
scheduled by the mediator;
              Steven Jurista
_________________________________________ is appointed to serve as mediator in this matter.
                                  110 Allen Road, Suite 304, Basking Ridge, NJ 07920
The mediator’s address is ______________________________________________________________.

It is further ORDERED, that

D.N.J. LBR 9019-1 and 9019-2, as well as the following terms and guidelines will govern the mediation
process between the parties:

1. Plaintiff must immediately serve the designated mediator with a copy of the Mediation Order.

2. Promptly after receiving the Mediation Order, the mediator must determine whether there is a basis
for disqualification or whether the mediator is unable to serve for any other reason.

3. Upon entry of this Order, the parties must promptly contact the mediator to schedule the organizational
telephone conference required by D.N.J. LBR 9019-2(d).

4. The scheduling and location of all mediation sessions will be determined by the mediator;
however, the mediation must commence not later than 60 days after the entry of this order, unless
extended by further court order.

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5. The parties will compensate the mediator at the rate of $____________________.        Each party is
responsible for one-half of the mediator’s fee. The fee is due not later than 30 days after presentation of
the mediator’s invoice. Either the mediator or a party to the mediation may bring a motion to enforce the
parties’ payment obligations under this Order.

6. The mediator has the right to terminate this mediation at any time, for any reason, by providing
written notice to counsel for all parties.

7. Not later than 7 days after the conclusion of the mediation, the mediator must file Local Form,
Mediation Report.




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